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                     EXHIBIT “M”
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                                     $31 M. Basquiat Poised            65-12 inFiled
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  $31 M. Basquiat Poised to Become Most Expensive Western
  Work Auctioned in Asia
  BY ANGELICA VILLA
  February 11, 2021 9:00pm




https://www.artnews.com/art-news/market/basquiat-warrior-christies-hong-kong-sale-1234583653/                      1/5
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  Jean-Michel Basquiat,Warrior,1982
  CHRISTIE'S


  Jean-Michel Basquiat (https://www.artnews.com/t/basquiat/), one of the most
  expensive contemporary artists, is set to continue his reign next month at Christie’s in
  Hong Kong. His 1982 painting Warrior will be auctioned on March 23 during a single-lot
  sale titled “We Are All Warriors.” The work, which carries a third-party guarantee, is
  expected to achieve a price between $31 million and $41 million (HKD 240 million–HKD
  320 million). If the present lot meets its low estimate it will be among the top 10 Basquiats
  to ever sell at auction, surpassing the price of $30.7 million paid for Flesh and Spirit
  (1982), from the collection of Herbert Neumann, at Sotheby’s in 2018.

  “It is simply a masterpiece,” Cristian Albu, Christie’s international director of postwar and
  contemporary art, said of Warrior.

  The large-scale painting, made with acrylic, oilstick and spray paint on wood panel,
  features a sword-wielding figure with Basquiat’s signature skull-like head. Its subject is
  brutality, and Basquiat had the threat of state violence in mind when he made it.

  If it sells for within its estimate, Warrior will have increased dramatically in value. The
  current seller, a private American collector, purchased the work at Sotheby’s London in
  2012 for $8.7 million, where it was estimate at $7.8 million–$10.9 million. Prior to its sale in
  2012, the work—once held by the Mugrabi family—sold at Sotheby’s London in 2007 for
  $5.6 million and, before that, in 2005 for $1.8 million.


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  First exhibited in 1983 in Tokyo at Akira Ikeda Gallery, the work eventually traveled to
  exhibitions in Paris, Vienna, and Milan in the coming decades. It was last showcased in
  2019 in the inaugural exhibition of the Brant Foundation’s New York space.

  The sale looks to continue a market ascent for Basquiat that has been ongoing since 2013,
  when Dustheads (1982) sold at Christie’s New York, bringing in $48.8 million. Nine of the
  top 10 most expensive Basquiat works are from the same year Warrior was completed. “In
  ’82, he was at the height of his artistic power,” Albu said. “If you look at this it’s like a self-
  portrait. He had no shame to express what he wanted to express.”

  While the current estimate is more than triple its last price realized nine years ago, Albu
  cites the 2017 sale of La Hara for $30.7 million—which depicts a menacing image of police
  officer behind bars—as an indicator of the present work’s potential value describing the
  two as having, “equal power and equal rawness.”

  Works made in the brief window between 1981-2, considered Basquiat’s most valuable are
  become increasingly scarce, according to Albu. “Each year they become rarer and rarer,”
  he said. “Most of them now are in museums or private foundations.”

  The Basquiat is also poised to be the most expensive work by a Western artist at an
  auction in Asia. If it performs as well as the house expects, it will outdo a record set in
  2020 by a Gerhard Richter abstraction from the collection of financier Ronald Perelman.
  That work sold for $28.8 million at Sotheby’s Hong Kong in July. The push to sell such a
  work by a Western artist for such a tall price in Asia signals that Christie’s is thinking
  globally.

  The Hong Kong market has emerged unscathed from the pandemic’s economic grip, and
  fall sales in the city impressed. (By contrast, the New York auctions continued to lag.) At its
  Hong Kong headquarters, Christie’s went on to achieve the highest sale total for an
  auction house in Asia, notching 17 records for contemporary artists in its Hong Kong–to–
  New York December 2 sale.

  Continuing that global relay-style format, the Basquiat sale will be followed on March 23 by
  a 20th century art evening sale and an “Art of the Surreal” evening sale, both of them in
  London. Also set to be auctioned that day are works by Alexander Calder, Joan Miró, and
  Rene Magritte.




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